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                                 UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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   9       ERIC A.,                                         Case No. 2:23-cv-06797-DSF (MAR)
  10                                  Plaintiff,
  11                            v.                          ORDER ACCEPTING FINDINGS
                                                            AND RECOMMENDATION OF
  12                                   2
                                                            UNITED STATES MAGISTRATE
           MARTIN J. O’MALLEY,                              JUDGE
  13       Commissioner of Social Security,
  14
                                      Defendant.
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  16
                Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the records
  17
       on file, and the Report and Recommendation of the United States Magistrate Judge.
  18
       No objections have been filed. The Court accepts the findings and recommendation
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       of the Magistrate Judge.
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  25    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
       recommendation of the Committee on Court Administration and Case Management of the Judicial
  26   Conference of the United States.

  27   2
        Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Martin J. O’Malley, the newly
  28   appointed Commissioner of the Social Security Administration, is hereby substituted as the
       Defendant herein.
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   1         IT IS THEREFORE ORDERED that Judgment be entered REVERSING
   2   the Commissioner’s decision REMANDING for further administrative action
   3   consistent with this Report.
   4   Dated: June 7, 2024
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                                      HONORABLE DALE S. FISCHER
   6                                  United States District Judge
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